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                                  A suggestion of settlement having been made, this case is dismissed. If settlement
June 8, 2020                      is not consummated within 30 days of the date of this order, either party may apply
                                  by letter for restoration of the action. All pending court dates are canceled. The
Honorable Alvin K. Hellerstein    Clerk is directed to close the case.
United States District Judge
Southern District of New York So ordered. /s/ Alvin K. Hellerstein
500 Pearl Street                              October 21, 2020
New York, New York 10007

Re:    Yonezu v. Mental Floss, Inc. (1:20-cv-3859-AKH)

Dear Judge Hellerstein,

We represent Plaintiff, Ayuko Yonezu, in the above in-captioned case. The parties have reached
a settlement in principle and respectfully request that this Court administratively dismiss the
action with leave to reopen the case in thirty (30) days from today’s date if the parties have not
submitted their final notice of dismissal by such time.

The Court’s consideration is much appreciated.


                                                      Respectfully submitted,

                                                      /s/Richard Liebowitz
                                                      Richard P. Liebowitz

                                                      Counsel for Plaintiff Ayuko Yonezu




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